                Case 2:18-cr-00011-AB Document 11 Filed 01/31/18 Page 1 of 5 Page ID #:40
                                                                                                  http://156.131.20.221/cacd/CrimIntakeCal.NSF/1222c8c990b 1 f46c8...




                                                                      UNITED STATES DISTRICT COURT
                                                                     CENTRAL DISTRICT OF CALIFORNIA

         UNITED STATES OF AMERICA,                                                         ~ Western Division                               irNnFu Far.
                                                                                Plaintiff, ~
                                               vs.                                         ~ Case Number: 2:18-CR-00011-AB                  Informatio❑
                                                                                           ~ Initial App. Date: 01/31/2018                  Summons
         Jeffrey Yohai                                                                     ~ Initial App. Time: 2:00 PM




                                                                              Defendant.     Date Filed:01/11/2018
                                                                                           ~ Violation: 18USC1349, 18USC]028A
                                                                                           ~ CourtSmaN Reporter:       IT  T

                  PROCEEDINGS HELD BEFORE UNITED STATES                                    ~                      CALENDAR/PROCEEDINGS SHEET
                   MAGISTRATE JUDGE:                                                       ~                       LOCAL/OUT-OF-DISTRICT CASE

                                                fi`~~C~~i,K, F ~ ~'~ V1 Yv► VY1 j
                PRESENT:                        ~e~ei-~fene-----                                                                                  None
                                                                                           VlG~ ►~~'M~ ~'Uu~1~
                                                    Deputy Clerk                             Assistant US. Attorney                         Interpreter/Language
                          f: ' INITIAL APPEARANCE NOT HELD -CONTINUED
                         '~1 Defendant informed of charge and right to remain silent; appointment of counsel, if indigent; right to bail; bail review and
                                '~ preliminary hearing OR ~~ .removal hearing /Rule 20.
                          f~`i Defendant states true name ~is as charged C°] is
                         ''~ Court ORDERS the caption of the Indictment/Information be changed to reflect defendants different true name. Counsel are directed to
                               file all future documents reflecting the true name as stated on the record.
                               Defendant advised of consequences false statement in financial affidavit ~-' Financial Affidavit ordered SEALED.
                           +' Attorney: Hilary Potashner, DFPD           Appointed ` l Prev. Appointed ~Poss. Contribution (see separate order)
                                   Special appearance by:
                               GovemmenYs request for detention is ~ GRANTED "DENIED ~: t WITHDRAWN i-~ CONTINUED

                         /   ~ efendant is ordered: s= P rmane~ Detained J Temporarily Detained (see separate order).
                               BAIL FIXED AT $                                         (SEE ATTACHED COPY OF CR-1 BOND FORM FOR CONDITIONS)
                         7 Government moves to iJNSE L Complaint/Indictment/Information/Entire Case: '~! GRANTED ~' DENIED
                         ~~~ Preliminary Hearing waived.
                               Class BMisdemeanor -~ Defendant is advised of maximum penalties
                         -~ This case is assigned to Magistrate Judge                                                     .Counsel are directed to contact the clerk for the
                               setting of all further proceedings.
                         P_; PO/PSA WARRANT                 Counsel are directed to contact the clerk for
                               District Judge                                                              for the setting of further proceedings.
                         '': Preliminary Hearing set for                                      at 4:30 PM
                          __ PIA set for:                                     at 11:00 AM in LA; at 10:00 AM in Riverside; at 2:00 PM in Santa Ana
                               Governments motion to dismiss case/defendant                                                  only: t7 GRANTED `"', DENIED
                         7 Defendant's motion to dismiss for lack of probable cause: °'-i GRANTED -DENIED
                               Defendant executed Waiver of Rights. i~ Process received.
                         - Court ORDERS defendant Held to Answer to                                        District of
                                   Bond to transfer, if bail is posted. Defendant to report on or before
                                   Warrant of removal and final commitment to issue. Date issued:                                  By CRD:
                               '_` Warrant of removal and final commitment are ordered stayed until
                         _~ Case continued to (Date)                                             (Time)                                    AM / PM
                               Type of Hearing:                                   Before Judge                                           /Duty Magistrate Judge.
                               Proceedings will be held in the `4 Duty Courtroom                                ~~ Judge's Courtroom
                         _~ Defendant committed to the custody of the U.S. Marshal ~Summons: Defendant ordered to report to USM for processing.
                               Abstract of Court Proceeding (CR-53) issued. Copy forwarcRd to USM.
                         ~~ Abstract of Order to Return Defendant to Court on Next Court Day M-20) issued. Original forwarded to USM.
                               RELEASE ORDER NO:                          U~1
                         ~!Other:                      ~                                                  ~i                         2                    ~ (~~
                                                    PSA '~= USPO                            ~                                          READY                          /
                                                                                                                                          Deputy Clerk Initials ~ €~.,~



                    M-5 QO/13)                               CALENDAR/PROCEEDING SHEET LOCAL/OUT-OF-            STRICT CASE                                  Page 1 of 1




                                                                                                    ~~




1 of 1                                                                                                                                                                     1/31/2018, 9:32 AM
                    Case 2:18-cr-00011-AB Document 11 Filed 01/31/18 Page 2 of 5 Page ID #:41



                     UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA

        Case Name: United States of America v. Jeffrey Craig Yohai                                                       Case No. CR 18-00011-AB
                                                                   ■ Defendant
                                                                   ~                ~ Material Witness

        Violation of Title and Section: 18 U.S.C.4 1349; 18 U.S.C.§ 1028A
                                               ■ Summons
                                               ~                          ~ Out of District          Under Seal       ~ Modified Date:

              Personal Recognizance (Signature Only)                              ~ Affidavit of Surety With Justification          Release No.
                                                                                    (Form CR-3) Signed by:
        [            z App~,arance
         ]`'iJnsecured r ~         Bond                                                                                                  s~N1l11L2t~ ~
                                                                                                                                       Release to Pretrial ONLY
              Appearance Bow                                                                                                         ~ Release to Probation ONLY
                    i F5
                                                                                                                                       Forthwith Release
                   Cash Deposit(Amount or %)
                      ~ z ~!y~                                                    ~ With Full Deeding of Property
                   Affidavit of Surety Without
                   Justification (Form CR-4) Signed by:
                                                                                                                                         All Conditions of Bond
                                                                                                                                         (ExceptClearing-Warrants
                                                                                                                                          Condition) Must be Met
                                                                                                                                         and Posted by:
                                                                                                                                          _           ;-~
                                                                                                                                                      ~,,

                                                                                                                                         Third-Party Custody
                                                                                  Collateral Bond in the Amount of(Cash                 Affidavit(Form CR-31)
                                                                                  or Negotiable Securities):
                                                                              $                                                      ■ Bail Fixed by Court:
                                                                                                                                     0
                                                                                                                                     FFM       / jrm
                                                                                  Corporate Surety Bond in the Amount of:
                                                                              $                                                         (Judge /Clerk's Initials)


                                                                          PRECONDITIONS TO RELEASE

           The government has requested a Nebbia hearing under 18 U.S.C. § 3142(8)(4).
           The Court has ordered a Nebbia hearing under 4 3142(g)(4).
        ~ The Nebbia hearing is set for                                                    at               ❑ a.m. ❑ p.m.

                                                                       ADDITIONAL CONDITIONS OF RELEASE
In addition to the GENERAL CONDITIONS of RELEASE,the following conditions of release are imposed upon you:
         Submit to: ~ Pretrial Services Agency(PSA)supervision as directed by PSA; ~ Probation(USPO)supervision as directed by USPO.
                     (Tee agency indicated above,PSA or USPO, will 6e referred to below as "SupervisingAgency.'~

         Surrender all passports and travel documents to Supervising Agency no later than                                                           sign a Declaration
  ~..
          re Passport and Other Travel Documents(Form CR-37), and do not apply for a passport or other travel document during the pendency
          of this case.
 k .1                                      q        fF             °
[
'~ Travel is restricted to             ~       $         ;fir a,~ ~ ~~                                            unless prior permission is granted by Supervising
 `~ Agency to trapvel to a specific other location. Cou,/r~t p_ermission is(
                                                                           rAA! e~qpu~ired for international travel.
                                                                       ~~t~.a ~L:
                                                                                '~~~~ a   ~ `T   FJs~~y1~

,~Reside as approved`~y
                      ~   C~ €   ~#   !~'~k~~~~B   f~B   ~-~1 u9
                                       pe ismg Agency aTid do not~elocate wi out prior ermission from Supervising Agency. ~3~~;-'
         Maintain or actively seek employment and provide proof to Supervising Agency. ~ Employment to be approved by Supervising Agency.
         Maintain or begin an educational program and provide proof to Supervising Agency.                                     1F
                                                                                                      Defendant's Initials:-   ,V/          Date:      ~/~j`~~
CR-1                                                     CENTRAL DISTRICT OF                                    AND                                      PAGE 1 OF 4
                Case 2:18-cr-00011-AB Document 11 Filed 01/31/18 Page 3 of 5 Page ID #:42

   Case Name: United States of America v. Jeffrey Craig Yohai                                         Case No. CR 18-00011-AB
                                                0 Defendant         ~ Material Witness
        Avoid all contact, directly or indirectly(including by any electronic means), with any person who is a known victim or
   ~,    witness in the subject investigation or prosecution,~ including but not limited to
                                                               ;~ except    ~~'~~'~     ''~~ ,t''~' ) ~~,~~~~~"a~,~         ~:.,' c~'~~`~~ ~ ~r~ ~~~~'"s~~h`m
        Avoid all contact, directly or indirecfly (including by any electronic means), with any known codefendants except in the presence                ~ E

        of counsel. Notwithstanding this provision, you may contact the following codefendants without your counsel present:

        Do not possess any firearms, ammunition, destructive devices, or other dangerous weapons. ~ In order to determine compliance,
        you agree to submit to a search of your person andlor property by Supervising Agenry in conjunction with the U.S. Marshal.
        Do not use or possess any identification, mail matter, access device, or any identification-related material other than in your
   t
        own legal or true name without prior permission from Supervising Agency.[~ In order to determine compliance, you agree
                                                                                   B
        to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.
        Do not engage in telemarketing.
        Do not sell, transfer, or give away any asset valued at $                                   or more without notifying and obtaining
        permission from the Court, except
        Do not engage in talc preparation for others.
        Do not use alcohol.
        Participate in the electronic remote alcohol monitoring program as directed by Supervising Agency and abide by all the rules and
        requirements of the program. You must pay all or part of the costs for treatment based upon your ability to pay as determined by
        Supervising Agency.
  : ~
        Do not use or possess illegal drugs or state-authorized medical marijuana. ~ In order to determine compliance, you agree to
  1
        submit to a search of your person, and/or property by Supervising Agency in conjunction with the U.S. Marshal.
        Do not use for purposes ofintoxication any controlled substance analogue as defined by federal law or street, synthetic, or
        designer psychoactive substance capable of impairing mental or physical functioning more than minimally, except as
        prescribed by a medical doctor.
        Submit to: ~drug and/or ~ alcohol testing. If directed to do so, participate in outpatient treatment approved by Supervising Agency.
        You must pay all or part of the costs for testing and treatment based upon your ability to pay as determined by Supervising Agenry.
        Participate in residential ~ drug and/or ~ alcohol treatment as directed by Supervising Agency. You must pay all or part of the costs
        of treatment based upon your ability to pay as determined by Supervising Agency. ~Release to PSA only ~ Release to USPO only
        Submit to a mental health evaluation. If directed to do so, participate in mental health counseling and/or treatment approved by
        Supervising Agency. You must pay all or part of the costs based upon your ability to pay as determined by Supervising Agency.
        Participate in the Location Monitoring Program and abide by all of the requirements of the program, under the direction of Supervising
        Agency, which Owill or Owill not include a location monitoring bracelet. You must pay all or part of the costs of the program based
        upon your ability to pay as determined by Supervising Agency. You must be financially responsible for any lost or damaged equipment.
             Location monitoring only - no residential restrictions;
                               -or-
             You are restricted to your residence every day:
                     from                  ❑ a.m. ❑ p.m. to                           a.m. ❑ p.m.
                      as directed by Supervising Agenry;
                               -or-
                                                                                  Defendant's Initials: J              Date:
CR-1 (10/1                                CENTRAL DISTRICT                 VIA RELEASE ORDER AND BOND FORM.                                20F4
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  Case Name: United States of America v. Jeffrey Craig Yohai                                           Case No. CR 18-00011-AB

                                               ■ Defendant
                                               Q                  ~ Material Witness

        You are restricted to your residence at all times except for medical needs or treatment, attorney visits, court appearances, and
                                                                                     all of which must be preapproved by Supervising Agenry;

        Release to PSA only ~ Release to USPO only
      You are placed in the third-party custody(Form CR-31) of
      Clear outstanding ~ warrants or ~ DMV and traffic violations and provide proof to Supervising Agency within                    days

       of release from custody.
      Do not possess or have access to,in the home,the workplace, or any other location, any device that offers Internet access except
       as approved by Supervising Agency. ~ In order to determine compliance, you agree to submit to a search of your person
       and/or property by Supervising Agency in conjunction with the U.S. Marshal.
      Do not associate or have verbal, written, telephonic, electronic, or any other communication with any person who is less than
      the age of 18 except in the presence of a parent or legal guardian of the minor.
      Do not loiter or be found within 100 feet of any schoolyard, park, playground, arcade, or other place primarily used by children
       under the age of 18.
      Do not be employed by, affiliated with, own,control, or otherwise participate directly or indirectly in the operation of any daycare
      facility, school, or other organization dealing with the care, custody, or control of children under the age of 18.
      Do not view or possess child pornography or chIld erotica. ~ In order to determine compliance, you agree to submit to a search
       of your person and/or property,including computer hardware and software, by Supervising Agency in conjunction with the U.S.
         Marshal.
     s
   ,s' .Other conditions:




                                            GENERAL CONDITIONS OF RELEASE

I will appear in person in accordance with any and all directions and orders relating to my appearance in the above entitled matter as
maybe given or issued by the Court or any judicial officer thereof, in that Court or before any Magistrate Judge thereof, or in any other
United States District Court to which I may be removed or to which the case may be transferred.

I will abide by any judgment entered in this matter by surrendering myself to serve any sentence imposed and will obey any order or
direction in connection with such judgment as the Court may prescribe.

I will immediately inform my counsel of any change in my contact information, including my residence address and telephone number,
so that I may be reached at all times.

I will not commit a federal, state, or local crime during the period of release.

I will not intimidate any witness, juror, or officer of the court or obstruct the criminal investigation in this case. Additionally, I will not
tamper with, harass, or retaliate against any alleged witness, victim, or informant in this case. I understand that if I do so, I may be
subject to further prosecution under the applicable statutes.

I will cooperate in the collection of a DNA sample under 42 U.S.C. 4 14135a.                                                         ~

                                                                                   Defendant's Initials:   \/         Date:
                                       CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM                                        30F4
                    Case 2:18-cr-00011-AB Document 11 Filed 01/31/18 Page 5 of 5 Page ID #:44

     Case Name: United States of America v. Jeffrey Craig Yohai                                            Case No. CR 18-00011-AB
                                                       Defendant       ~ Material Witness


                                     ACKNOWLEDGMENT OFDEFENDANT/MATERIAL WITNESS

     As a condition of my release on this bond, pursuant to Title 18 of the United States Code,I have read or have had interpreted to me
     and understand the general conditions of release, the preconditions, and the additional conditions of release and agree to comply with
     all conditions of release imposed on me and to be bound by the provisions of Local Criminal Rule 46-6.

     Furthermore,it is agreed and understood that this is a continuing bond (including any proceeding on appeal or review) which will
     continue in full force and effect until such time as duly exonerated.

     I understand that violation of any of the general and/or additional conditions of release of this bond may result in a revocation of
     release, an order of detention, and a new prosecution for an additional offense which could result in a term ofimprisonment and/or
     fine.

    I further understand that if I fail to obey and perform any of the general and/or additional conditions of release of this bond,this bond
    maybe forfeited to the United States of America. If said forfeiture is not set aside,judgment maybe summarily entered in this
    Court against me and each surety,jointly and severally,for the bond amount,together with interest and costs. Execution of the
    judgment may be issued or payment secured as provided by the Federal Rules of Criminal Procedure and other laws ofthe
    United States, and any cash or real or personal property or the collateral previously posted in connection with this bond maybe
    forfeited.




    Date        ~                           De endant/ Materi Witness'Signature                             Telephone Number



               s
     Cityand State
                             -s ~~—
                         O NOT INCLUDE ZIP CODE)



            Check ifinterpreter is used: I have interpreted into the                                                 language this entire form
            and have been told by the defendant that he or she understands all of it.



    Interpreter's Signature                                                                            Date



     Approved:
                              United States District Judge /Magistrate Judge                           Date


     If cash deposited: Receipt #                               for $


    (This bond may require surety agreements and affidavits pursuant to Local Criminal Rule 46.)




                                                                                                                 '
                                                                                                                                 i ~i ~ t
                                                                                                                 v
                                                                                   Defendant's Initials:     ~         Date:
CR-1 (10/                                  CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM                                PAG 4 OF 4
